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                                             1209



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                          |
          Plaintiff,                               |
                                                   |
       -vs-                                        |   Case No.        4:04-CR-0466-HEA
                                                   |
                                                   |
Damon Moore,                                       |
            Defendant.                             |



                                              ORDER

The purpose for which cash bail was posted in the above styled matter having now been served,
the Clerk is hereby ORDERED to draw a Registry Check in the sum of $ 2,500.00           to
Rufus Moore, the surety of record.




                                       ____________________________________
                                       UNITED STATES DISTRICT JUDGE


Dated this 6th day of March, 2006.


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                      VERIFICATION OF DEFENDANT’S STATUS
                           (to be completed by the District Court)


 I certify that the amount of the bond listed above is being held in the Registry of the United
States District Court-Eastern District of Missouri. I also certify that the status of the defendant is
such that the conditions of the bond have been met as of this 3rd day of March            , 2006.


                                       /s/ Cindy Kornberger
                                            Deputy Clerk
